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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
                v.                                )
                                                  )
RICHARD W. GATES III,                             )             Crim. No. 17-201-2 (ABJ)
                                                  )
                Defendant.                        )


     DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
    CONDITIONS FOR LIMITED PURPOSES OVER THANKSGIVING HOLIDAY
        Pursuant to this Court’s Order issued today, November 20, 2017, at 9:55 a.m., directing

that any motion seeking release to attend specific events over the Thanksgiving weekend be filed

by 3:00 pm on Tuesday, November 21, 2017, Richard W. Gates III, by and through counsel,

hereby moves this Court for modification of his release conditions for limited purposes so that he

may accompany his wife and children to family gatherings during the Thanksgiving holiday on

Thursday, November 23, 2017 (Thanksgiving Day) and Friday, November 24, 2017

(Thanksgiving Friday). Counsel continues efforts to work with the United States to reach a joint

proposal for bail conditions. In the interim, however, Mr. Gates respectfully requests this limited

release for two days this week so that he may attend Thanksgiving events with his family.

        Mr. Gates makes this request on the ground that he and his wife have pledged real

property, i.e., their residence, to secure the bond that has been imposed here. 1 Mr. Gates submits

that this pledge is of a sufficient amount to reasonably assure that he will not violate the

proposed modification of his release conditions over the two days of the Thanksgiving holiday.




1
 Mr. Gates submitted the necessary paperwork to pledge the property to the Clerk of the Court on Friday,
November 17, 2017, and the Clerk of the Court has advised counsel that the paperwork has been
submitted to this Court for approval.
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       If this Court permits this limited release, Mr. Gates will work with Pre-Trial Services on

the precise schedule. Mr. Gates will provide Pre-Trial Services with specific information about

the family gatherings, including the nature of the gathering, time, and location. As Mr. Gates

noted in his prior Motion to Modify Release Conditions for Limited Purposes, filed on Thursday,

November 16, 2017, his family is gathering on Thursday, November 23, 2017 in two separate

events with two additional family events scheduled for Friday, November 24, 2017. All of the

events are within Virginia.

       The position of the United States could not be ascertained as to this motion but Mr. Gates

submits that the United States will not be prejudiced by the granting of this motion.

       WHEREFORE, Mr. Gates hereby respectfully moves this Court for permission to modify

his release conditions as specified above.

                                             Respectfully submitted,


                                             _/s/Shanlon Wu_______________
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